                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA ex rel.          )
LIEBMAN, et al.,                          )                   Case No.: 3:17-cv-00902
                                          )
                    Plaintiff-Relators,   )                   JUDGE CAMPBELL
                                          )                   MAGISTRATE JUDGE HOLMES
            v.                            )
                                          )
METHODIST LE BONHEUR HEALTHCARE,          )
et al.,                                   )
                                          )
                    Defendants.           )
__________________________________________)

                        UNITED STATES’ MOTION FOR LEAVE
                       TO FILE CERTAIN EXHIBITS UNDER SEAL

       The United States respectfully moves the District Court pursuant to Local Rule 5.03 for

leave to file these documents under seal:

       ECF Nos. 352-1, 352-3, 352-4, 352-5, and 352-10

       ECF Nos. 353-4, 353-6, 353-7, 353-11, 353-14, and 353-19

       ECF No. 354-1

       ECF Nos. 356-8, 356-9, and 356-11

       ECF Nos. 357-1, 357-2, 357-3, and 357-9

       ECF No. 358-4

       As good cause for the motion, the United States states as follows:

       1.      Counsel for non-party West emailed the United States this morning and asked the

United States to file the above exhibits under seal pursuant to paragraph three of the confidentiality

order in this case concerning documents that a party designates as confidential in that they may

contain proprietary business information. ECF No. 108.



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       2.      Counsel for West and the United States have not yet agreed as to whether each of

these documents should be sealed, but counsel have agreed to discuss these issues in the coming

days and expect that they will come to an agreement during June 2023. If the parties determine

that any of the above entries do not need to be sealed, they will promptly advise the Court.

       3.      Counsel for the Methodist Defendants consents to this motion.

                                             Respectfully submitted,

                                             HENRY C. LEVENTIS
                                             United States Attorney
                                             Middle District of Tennessee

                                      By:    s/ Ellen Bowden McIntyre
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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 23, 2023, a true and correct copy of the foregoing was served
via email to the following:


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                                            s/ Ellen Bowden McIntyre
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                                            Assistant United States Attorney




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